     Case 2:18-cr-00036-LGW-BWC Document 84 Filed 03/08/19 Page 1 of 3




                          LINITED STATES DISTRICT COIIRT
                          SOI.ITHERN DISTRICT OF GEORGIA
                                BRT]NSWICK DIVISION

 I]MTED STATES OF AMERICA                        )   cR 218-36-01
                                                 )
                     V.                          )
                                                 )
 JONATIIAN I,AI\,IAR MAI\ET                      )

                  STIPI.]I,ATION OF FACT AI\D ADMISSIBILIIY

      The United States of America,by and through Bobby L. Christine, United

States Attorney for the Southern District of Georgia, and Assistant United States

Attorney Karl l(noche, and Jonathan Lamar Manet, represented by Alan Tucker,

Etq., hereby stipulate and agree to the following:

      1.       It is agreed that in lieu of submitting documentary     evidence and

testimony regarding chain of custody, the parties agree that Government Exhibit            1,

which was seized from a2016 Chrysler 300 automobile occupied by the Defendant

on July 3,20t7 , has been continuously maintained by the Darien Police Department

and the Drug Enforcement Administration since that date.

      2.       It is further   agreed that Government Exhibit   l   was submitted to the

Drug Enforcement Administration Southeast Laboratory, Miami, Florida, for

forensic examination. The result of the examination showed that Government

Exhibit   1 contains 377 .9 grams of a   mixture or substance containing a detectable

amount of heroin, a Schedule I controlled substance.

      3.      The parties agree that is not necessary for the Government to present

chain of custody evidence or expert testimony concerning Government Exhibit           1.
            Case 2:18-cr-00036-LGW-BWC Document 84 Filed 03/08/19 Page 2 of 3
!r'


      The   jury may consider the information shown above to be true and proven.

                                      Respectfully submitted,




                                                  Alan David T\rcker
      Assistant United States Af,torney


                                                   &lz*-
                                                  Jonathan Lamar Manet
                                                  Defendant
      Case 2:18-cr-00036-LGW-BWC Document 84 Filed 03/08/19 Page 3 of 3




                             CERTIFICATE OF SER}TICE

       This is to certiff that I have on this day served all the parties in this case in

accordance    with the notice of electronic filing ('NEF') which was generated as a result

of electronic filing in this Court.

       Thi*   Sday      of March 2019.

                                                 Respectfully submitted,

                                                 BOBBY L. CHRISTINE
                                                 UNITED STATES ATTOR}{EY

                                                 lsl   Karl I. Knoehe
                                                 Karl I. Knoche
                                                 Assistant United States AttorneY


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